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                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

IN RE:                                   )
                                         )      CASE NO. 19-50672-wlh
NORMANDY MESHON HUFF,                    )
aka Normandy Huff aka Normandy           )
M Huff,                                  )
                                         )      CHAPTER 7
                    Debtor.              )
                                         )
S. GREGORY HAYS,                         )
Chapter 7 Trustee for the Estate of      )      Adversary Proceeding
Normandy Meshon Huff,                    )      No.: 20-06100-wlh
                                         )
                    Plaintiff,           )
                                         )
v.                                       )
                                         )
OLIVIA SMITH, NORMANDY                   )
MESHONHUFF, GEORGIA                      )
DEPARTMENT OFREVENUE,                    )
UNITED STATES OFAMERICA ON               )
BEHALF OF ITSAGENCIES THE                )
INTERNAL REVENUE SERVICE                 )
AND THE UNITED STATES                    )
DEPARTMENT OF JUSTICE,                   )
                                         )
                    Defendants.          )

          DEFENDANT OLIVIA SMITH’S ANSWER TO COMPLAINT

       COMES NOW Olivia Smith (“Defendant”), and answers and defends the

Complaint filed by S. Gregory Hays (“Plaintiff”) as follows:

                          FIRST AFFIRMATIVE DEFENSE

       The Complaint fails to state a claim for which relief may be granted.
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                                JURISDICTION AND VENUE

       1.     Defendant admits the allegations in Paragraph 1 of the Complaint.

       2.     Defendant admits the allegations in Paragraph 2 of the Complaint.

       3.     Defendant admits the allegations in Paragraph 3 of the Complaint.

       4.     Defendant admits the allegations in Paragraph 4 of the Complaint.

       5.     Defendant neither admits nor denies the allegations in Paragraph 5 of the

Complaint for lack of personal knowledge of the allegations set forth therein.

       6.     Defendant admits the allegations in Paragraph 6 of the Complaint.

       7.     Defendant admits the allegations in Paragraph 7 of the Complaint.

       8.     Defendant neither admits nor denies Paragraphs 8 of the Complaint for lack

of personal knowledge of the allegations set forth therein.

       9.     Defendant neither admits nor denies Paragraph 9 of the Complaint for lack

of personal knowledge of the allegations set forth therein.

       10.    Defendant neither admits nor denies Paragraph 10 of the Complaint for lack

of personal knowledge of the allegations set forth therein.

      11.     Paragraph 11 of the Complaint requires no response.

                               STATEMENT OF FACTS

                               a.     General Background

       12.    Defendant admits the allegations in Paragraph 12 of the Complaint.

       13.    Defendant neither admits nor denies Paragraph 13 of the Complaint for lack

of personal knowledge of the allegations set forth therein.
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       14.    Defendant neither admits nor denies Paragraph 14 of the Complaint for lack

of personal knowledge of the allegations set forth therein.

       15.    Defendant neither admits nor denies Paragraph 15 of the Complaint for lack

of personal knowledge of the allegations set forth therein.

       16.    Defendant neither admits nor denies Paragraph 16 of the Complaint for lack

of personal knowledge of the allegations set forth therein.

                            b. The Property and the Transfers

       17.    Defendant admits the allegations in Paragraph 17 of the Complaint.

       18.    Defendant admits the allegations in Paragraph 18 of the Complaint.

       19.    Defendant admits the allegations in Paragraph 19 of the Complaint.

       20.    Defendant admits the allegations in Paragraph 20 of the Complaint.

       21.    Defendant admits the allegations in Paragraph 21 of the Complaint.

       22.    Defendant denies the allegations in Paragraph 22 of the Complaint.

       23.    Defendant neither admits nor denies Paragraph 23 of the Complaint for lack

of personal knowledge of the allegations set forth therein.

                             c. Debtor’s Financial Condition

       24.    Defendant admits the allegations in Paragraph 24 of the Complaint.

       25.    Defendant neither admits nor denies Paragraph 25 of the Complaint for lack

of personal knowledge of the allegations set forth therein.

       26.    Defendant neither admits nor denies Paragraph 26 of the Complaint for lack

of personal knowledge of the allegations set forth therein.
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       27.      Defendant neither admits nor denies Paragraph 27 of the Complaint for lack

of personal knowledge of the allegations set forth therein.

                  Liens, Interests, and/or encumbrances on the Property

       28.      Defendant neither admits nor denies Paragraph 28 of the Complaint for lack

of personal knowledge of the allegations set forth therein.

       29.      Defendant can neither admit nor deny Paragraph 29 of the Complaint, and its

subparagraphs (i) through (viii), for lack of personal knowledge.

       30.      Defendant can neither admit nor deny Paragraph 30 of the Complaint for lack

of personal knowledge.

                                         COUNT I

      (Avoidance of fraudulent transfers pursuant to 11 U.S.C. § 548(a)(1)(B))

       31.      Defendant realleges the responses to Paragraphs 1 through 30 of the

Complaint above as though fully set forth herein.

       32.      Defendant denies the allegations in Paragraph 32 of the Complaint.

       33.      Defendant denies the allegations in Paragraph 33 of the Complaint.

       34.      Defendant denies the allegations in Paragraph 34 of the Complaint.

       35.      Defendant denies the allegations in Paragraph 35 of the Complaint.

       36.      Defendant denies the allegations in Paragraph 36 of the Complaint.

       37.      Defendant denies the allegations in Paragraph 37 of the Complaint.

                                            COUNT II

             (Avoidance of fraudulent transfers pursuant to 11 U.S.C. §548(a)(1)(A),
                                       Alternative Count)
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      38.      Defendant realleges the responses to Paragraphs 1 through 37 of the

Complaint above as though fully set forth herein.

      39.      Defendant denies the allegations in Paragraph 39 of the Complaint.

      40.      Defendant denies the allegations in Paragraph 40 of the Complaint.

      41.      Defendant denies the allegations in Paragraph 41 of the Complaint.

      42.      Defendant denies the allegations in Paragraph 42 of the Complaint.

      43.      Defendant denies the allegations in Paragraph 43 of the Complaint.

                                       COUNT III

             (Recovery of the avoided transfers pursuant to 11 U.S.C. § 550)

      44.      Defendant realleges the responses to Paragraphs 1 through 43 of the

Complaint above as though fully set forth herein.

      45.      Defendant denies the allegations in Paragraph 45 of the Complaint.

      46.      Defendant denies the allegations in Paragraph 46 of the Complaint.

                                       COUNT IV

            (Preservation of the avoided transfers pursuant to 11 U.S.C. §551)

      47.      Defendant realleges the responses to Paragraphs 1 through 46 of the

Complaint above as though fully set forth herein.

      48.      Defendant denies the allegations in Paragraph 48 of the Complaint.

                                       COUNT V

      (Claim for Authority to Sell Real Property of the Bankruptcy Estate Free and
    Clear of Defendants’ Liens, Claims, and Interests under 11 U.S.C. § 363(h))
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      49.     Defendant realleges the responses to Paragraphs 1 through 48 of the

Complaint above as though fully set forth herein.

       50.    Defendant denies the allegations in Paragraph 50 of the Complaint.

       51.    Defendant denies the allegations in Paragraph 51 of the Complaint.

       52.    Defendant neither admits nor denies Paragraph 52 of the Complaint for lack

of personal knowledge of the allegations set forth therein.

       53.    Defendant neither admits nor denies Paragraph 53 of the Complaint for lack

of personal knowledge of the allegations set forth therein.

       54.    Defendant neither admits nor denies Paragraph 54 of the Complaint for lack

of personal knowledge of the allegations set forth therein.

       55.    Defendant denies the allegations in Paragraph 55 of the Complaint.

       56.    Defendant neither admits nor denies Paragraph 56 of the Complaint for lack

of personal knowledge of the allegations set forth therein.

       57.    Defendant admits the allegations in Paragraph 57 of the Complaint.

       58.    Defendant denies the allegations in Paragraph 58 of the Complaint.

                                          COUNT VI

       (Request to Establish Validity, Extent and Priority of Defendants’ Interests)

       59.    Defendant realleges the responses to Paragraphs 1 through 58 of the

Complaint above as though fully set forth herein.

       60.    Defendant neither admits nor denies Paragraph 60 of the Complaint for lack

of personal knowledge of the allegations set forth therein.

      61.     Defendant admits the allegations in Paragraph 61 of the Complaint.
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      62.      Paragraph 62 of the Complaint requires no response.

       To the extent a response to Plaintiff’s ad damnum clause is necessary, Defendant

denies that Plaintiff is entitled to his prayer for relief.

       WHEREFORE, having fully answered and defended the Complaint, Defendant

respectfully requests that the Court deny the relief sought by Plaintiff in the Complaint in

each and every regard, and grant such other relief as the Court deems just and proper.

       Respectfully submitted this 9th day of July 2020.


                                                     THE ROTHBLOOM LAW FIRM
                                                     Counsel for Defendant Olivia Smith

                                                     /s/ Howard D. Rothbloom
                                                     HOWARD D. ROTHBLOOM
                                                     Georgia Bar No. 915670
                                                     309 E. Paces Ferry Road, NE
                                                     Suite 400
                                                     Atlanta, GA 30305
                                                     Tel: 770-792-3636
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                     Plaintiff,             )
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v.                                          )
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OLIVIA SMITH, NORMANDY                      )
MESHONHUFF, GEORGIA                         )
DEPARTMENT OFREVENUE,                       )
UNITED STATES OFAMERICA ON                  )
BEHALF OF ITSAGENCIES THE                   )
INTERNAL REVENUE SERVICE                    )
AND THE UNITED STATES                       )
DEPARTMENT OF JUSTICE,                      )
                                            )
                     Defendants.            )

                                  CERTIFICATE OF SERVICE

        I certify that true and correct copies of the within and foregoing have been served upon
the following by placing the same Defendant Olivia Smith’s Answer To Complaint in an
envelope with adequate first class postage affixed thereto and depositing the same in the
United States Mail addressed as follows:

                                     Michael J. Bargar
                                   William D. Matthews
                            ARNALL GOLDEN GREGORY LLP
                              171 17TH Street, NW, Suite 2100
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                                  Atlanta, GA 30363

                                Richard H. Thomson
                            CLARK & WASHINGTON, PC
                             3300 Northeast Expressway
                                     Building 3
                                 Atlanta, GA 30341

     This 9th day of July 2020.

                                             THE ROTHBLOOM LAW FIRM
                                             Counsel for Defendant Olivia Smith

                                             /s/ Howard D. Rothbloom
                                             HOWARD D. ROTHBLOOM
                                             Georgia Bar No. 915670
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